
PER CURIAM.
In this proceeding for dissolution of marriage the trial court denied a motion for enforcement of a charging lien for attorney’s fees for the wife’s counsel on the ground of lack of jurisdiction.
We reverse the order appealed from and remand the cause for further proceedings. The relief sought is expressly provided for in Kozich v. Kozich, 501 So.2d 1386 (Fla. 4th DCA 1987), and Sinclair, Louis, Siegel, Heath, Nussbaum &amp; Zavertnik, P.A. v. Baucom, 428 So.2d 1383 (Fla.1983).
HERSEY, C.J., and DOWNEY and WALDEN, JJ., concur.
